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                IN THE UNITED STATES DISTRICT COURT


                FOR THE SOUTHERN DISTRICT OF
                                                    ^    ,          COUIT
                                                    SouSharn Diatrici of Ga.
                            SAVANNAH DIVISION            Filed In Office

                                                                      _jwJL5_
THE UNITED STATES OF AMERICA,
                                                                (Mk
               Plaintiff,

                                             4:17CR262


BRANDON WILLIAMS,


               Defendant,




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this    i(^   day of March, 2018




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OP GEORGIA
